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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 HITLER CALLE, individually and on behalf
 of others similarly situated,

                                   Plaintiff,                       JUDGMENT
        v.
                                                                    20 CV 4178 (LDH)(LB)
 PIZZA PALACE CAFÉ LLC (D/B/A PIZZA
 PALACE), SASHA ISHAQOV, YURI
 ISHAQOV, and VLADY DJOURAEV,

                                    Defendants.
 ---------------------------------------------------------------X
         An Order of the Honorable LaShann DeArcy Hall, United States District Judge having

been filed on January 27, 2022, adopting the Report and Recommendation of Magistrate Judge

Lois Bloom, dated January 4, 2022, which recommended that: plaintiff’s motion for a default

judgment should be granted; that plaintiff should be awarded $100,020.09 in unpaid overtime

compensation; $2,049 in unpaid spread of hours compensation; $102,069.09 in liquidated

damages; $5,000 for defendants’ wage notice violation; $5,000 for defendants’ wage statement

violation; $308 as reimbursement for “tools of the trade” expenses; $31,286.31 in pre-judgment

interest to increase by $25.17 per day until the entry of judgment; and post-judgment interest as

set forth in 28 U.S.C. 1961(a); which also recommended that if any amount of the judgment

remains unpaid after ninety-days or ninety-days after the expiration of the time to appeal, the

total amount of the judgment should increase as provided by NYLL § 198(40); that plaintiff

should be awarded attorney’s fees of $2,910 and costs of $400; and the Clerk of Court having

calculated the prejudgment interest at the rate set forth above, and the prejudgment interest being

$679.59; it is

        ORDERED and ADJUDGED that Plaintiff’s motion for default judgment against

Defendants is granted; that plaintiff is awarded a total amount of $249,731.08, plus post-
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judgment interest as set forth in 28 U.S.C. 1961(a); and that if any amount of the judgment

remains unpaid after ninety-days or ninety-days after the expiration of the time to appeal, the

total amount of the judgment should increase as provided by NYLL § 198(4).

Dated: Brooklyn, New York                                    Douglas C. Palmer
       January 31, 2022                                      Clerk of Court

                                                      By:     /s/Jalitza Poveda
                                                              Deputy Clerk
